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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS
                                    WICHITA DIVISION

  STATE OF KANSAS,                              §
  ET AL.,                                       §
                                                §
          Plaintiffs,                           §
                                                §
  v.                                            §
                                                §
  JOSEPH R. BIDEN IN HIS OFFICIAL               §    Civil Action No. 2024-CV-1057-DDC-
  CAPACITY AS PRESIDENT OF THE                  §    ADM
  UNITED STATES,                                §
  ET AL.;                                       §
                                                §
          Defendants.                           §




                          MOTION FOR A PRELIMINARY INJUNCTION

       Pursuant to Federal Rule of Civil Procedure 65(a), Plaintiffs States of Kansas, Alabama,

Alaska, Iowa, Idaho, Louisiana, Montana, Nebraska, South Carolina, Texas, and Utah (the

“States”) by and through their Attorneys General move for a Preliminary Injunction enjoining

Defendants Joseph R. Biden, Michael Cardona, and the Department of Education, their agents,

employees, and attorneys from implementing or acting pursuant to the Final Rule promulgated

by the Department of Education titled “Improving Income Driven Repayment for the William D.

Ford Federal Direct Loan Program and the Federal Family Education Loan (FFEL) Program,” 88

Fed. Reg. 43,820, or from undertaking any form of student debt relief not expressly authorized

by Congress.

       Though the Final Rule is not set to take effect until July 2024, Defendants are actively

implementing it by forgiving student loans, causing harm to the States. The present, ongoing,

and irreparable harm makes a preliminary injunction necessary. Prairie Band of Potawatomi

Indians v. Pierce, 253 F.3d 1234, 1246 (10th Cir. 2001). A memorandum in support of this motion
explains it more fully.
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       Respectfully submitted this 5th day of April, 2024.

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